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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                       :
DILENIA PAGUADA, on behalf of herself and all :
others similarly situated,                                             :
                                                                       :
                               Plaintiffs,                             :   CLASS ACTION COMPLAINT
                                                                       :            AND
                                         v.                            :    DEMAND FOR JURY TRIAL
                                                                       :
GUY’S SNACKS CORPORATION,                                              :
                                                                       :
                              Defendant.                               :
                                                                       :
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                                                INTRODUCTION
1.        Plaintiff DILENIA PAGUADA, on behalf of herself and others similarly situated,

          asserts the following claims against Defendant GUY’S SNACKS CORPORATION

          as follows.

2.        Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in

          the United States are visually impaired, including 2.0 million who are blind, and

          according to the American Foundation for the Blind’s 2016 report, approximately

          420,000 visually impaired persons live in the State of New York.

3.        Plaintiff brings this civil rights action against Defendant for its failure to design,

          construct, maintain, and operate its website to be fully accessible to and

          independently usable by Plaintiff and other blind or visually-impaired people.

4.        Plaintiff uses the terms “blind” or “visually-impaired” to refer to all people with

          visual impairments who meet the legal definition of blindness in that they have a

          visual acuity with correction of less than or equal to 20 x 200.




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5.    Defendant’s denial of full and equal access to its website, and therefore denial of

      its goods and services offered thereby, is a violation of Plaintiff’s rights under the

      Americans with Disabilities Act (“ADA”).

6.    Because Defendant’s website, www.getguyschips.com (the “Website” or

      “Defendant’s website”), is not equally accessible to blind and visually-impaired

      consumers, it violates the ADA. Plaintiff seeks a permanent injunction to cause a

      change in Defendant’s corporate policies, practices, and procedures so that

      Defendant’s website will become and remain accessible to blind and visually-

      impaired consumers.

                            JURISDICTION AND VENUE
7.    This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331

      and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42

      U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.

8.    This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiff’s

      New York City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq.,

      (“NYCHRL”) claims.

9.    Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2) because

      Defendant conducts and continues to conduct a substantial and significant amount

      of business in this District, and a substantial portion of the conduct complained of

      herein occurred in this District because Plaintiff attempted to utilize, on a number

      of occasions, the subject Website within this Judicial District.

10.   Defendant is subject to personal jurisdiction in this District. Defendant has been

      and is committing the acts or omissions alleged herein in the Southern District of

      New York that caused injury, and violated rights the ADA prescribes to Plaintiff


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      and to other blind and other visually impaired-consumers in this District. A

      substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred

      in this District: Plaintiff has been denied the full use and enjoyment of the facilities,

      goods and services offered to the general public, on Defendant’s Website in New

      York County. These access barriers that Plaintiff encountered have caused a denial

      of Plaintiff’s full and equal access multiple times in the past, and now deter Plaintiff

      on a regular basis from accessing the Defendant’s Website in the future.

11.   This Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201

      and 2202.

                                      THE PARTIES
12.   Plaintiff DILENIA PAGUADA, at all relevant times, is and was a resident of

      Astoria, New York.

13.   Plaintiff is a blind, visually-impaired handicapped person and a member of member

      of a protected class of individuals under the ADA, under 42 U.S.C. § 12102(1)-(2),

      and the regulations implementing the ADA set forth at 28 CFR § 36.101 et seq.,

      and NYCHRL.

14.   Defendant is and was at all relevant times a Kansas Corporation doing business in

      New York.

15.   Defendant’s Website, and its goods and services offered thereupon, is a public

      accommodation within the definition of Title III of the ADA, 42 U.S.C. § 12181(7).

                                 NATURE OF ACTION
16.   The Internet has become a significant source of information, a portal, and a tool for

      conducting business, doing everyday activities such as shopping, learning, banking,




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      researching, as well as many other activities for sighted, blind and visually-

      impaired persons alike.

17.   In today’s tech-savvy world, blind and visually-impaired people have the ability to

      access websites using keyboards in conjunction with screen access software that

      vocalizes the visual information found on a computer screen or displays the content

      on a refreshable Braille display. This technology is known as screen-reading

      software. Screen-reading software is currently the only method a blind or visually-

      impaired person may independently access the internet. Unless websites are

      designed to be read by screen-reading software, blind and visually-impaired

      persons are unable to fully access websites, and the information, products, goods

      and contained thereon.

18.   Blind and visually-impaired users of Windows operating system-enabled

      computers and devices have several screen reading software programs available to

      them. Some of these programs are available for purchase and other programs are

      available without the user having to purchase the program separately. NonVisual

      Desktop Access, otherwise known as “NVDA” is a popular, screen-reading

      software program available for a Windows computer.

19.   For screen-reading software to function, the information on a website must be

      capable of being rendered into text. If the website content is not capable of being

      rendered into text, the blind or visually-impaired user is unable to access the same

      content available to sighted users.

20.   The international website standards organization, the World Wide Web

      Consortium, known throughout the world as W3C, has published version 2.1 of the




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      Web Content Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-

      established guidelines for making websites accessible to blind and visually-

      impaired people. These guidelines are universally followed by most large business

      entities and government agencies to ensure their websites are accessible.

                              STATEMENT OF FACTS
21.   Defendant is a snack manufacturing company that owns and operates the website,

      www.getguyschips.com (its “Website”), offering features which should allow all

      consumers to access the goods and services which Defendant ensures the delivery

      of throughout the United States, including New York State.

22.   Defendant’s Website offers its products and services for online sale and general

      delivery to the public. The Website offers features which ought to allow users to

      browse for items, access navigation bar descriptions and prices, and avail

      consumers of the ability to peruse the numerous items offered for sale.

23.   Plaintiff is a visually-impaired and legally blind person, who cannot use a computer

      without the assistance of screen-reading software. Plaintiff is, however, a proficient

      NVDA screen-reader user and uses it to access the Internet. Plaintiff has visited the

      Website using a screen-reader.

24.   Plaintiff most recently visited Defendant’s website in November of 2020 to browse

      and potentially make a purchase. Despite his efforts, however, Plaintiff was denied

      a user experience similar to that of a sighted individual due to the website’s lack of

      a variety of features and accommodations, which effectively barred Plaintiff from

      being able to enjoy the privileges and benefits of Defendant’s public

      accommodation.




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25.   For example, many features on the Website lacks alt. text, which is the invisible

      code embedded beneath a graphical image. As a result, Plaintiff was unable to

      differentiate what products were on the screen due to the failure of the Website to

      adequately describe its content.

26.   Many features on the Website also fail to contain a proper label element or title

      attribute for each field. This is a problem for the visually impaired because the

      screen reader fails to communicate the purpose of the page element. It also leads to

      the user not being able to understand what he or she is expected to insert into the

      subject field. As a result, Plaintiff was unable to enjoy the privileges and benefits

      of the Website equally to sighted users.

27.   Many pages on the Website also contain the same title elements. This was a

      problem for Plaintiff because in certain instances the screen reader failed to

      distinguish one page from another. In order to fix this problem, Defendant must

      change the title elements for each page.

28.   The Website also contains a host of broken links, which is a hyperlink to a non-

      existent or empty webpage. For the visually impaired this is especially paralyzing

      due to the inability to navigate or otherwise determine where one is on the website

      once a broken link is encountered. For example, upon coming across a link of

      interest, Plaintiff was redirected to an error page. However, the screen-reader failed

      to communicate that the link was broken. As a result, Plaintiff could not get back

      to his original search.




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29.   As a result of visiting Defendant’s Website and from investigations performed on

      his behalf, Plaintiff is aware that the Website includes at least the following

      additional barriers blocking his full and equal use:

      a. The Website does not provide a text equivalent for every non-text element;

      b. The purpose of each link cannot be determined from the link text alone or from

         the link text and its programmatically determined link context;

      c. Web pages lack titles that describe their topic or purpose;

      d. Headings and labels do not describe topic or purpose;

      e. Keyboard user interfaces lack a mode of operation where the keyboard focus

         indicator is visible;

      f. The default human language of each web page cannot be programmatically

         determined;

      g. The human language of each passage or phrase in the content cannot be

         programmatically determined;

      h. Labels or instructions are not always provided when content requires user input;

      i. Text cannot be resized up to 200 percent without assistive technology so that it

         may still be viewed without loss of content or functionality;

      j. A mechanism is not always available to bypass blocks of content that are

         repeated on multiple web pages;

      k. A correct reading sequence is not provided on pages where the sequence in

         which content is presented affects its meaning;




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      l. In content implemented using markup languages, elements do not always have

         complete start and end tags, are not nested according to their specifications,

         may contain duplicate attributes, and IDs are not always unique; and

      m. The name and role of all UI elements cannot be programmatically determined;

         things that can be set by the user cannot be programmatically set; and/or

         notification of changes to these items is not available to user agents, including

         assistive technology.

30.   These access barriers effectively denied Plaintiff the ability to use and enjoy

      Defendant’s website the same way sighted individuals do.

31.   It is, upon information and belief, Defendant’s policy and practice to deny Plaintiff,

      along with other blind or visually-impaired users, access to Defendant’s website,

      and to therefore specifically deny the goods and services that are offered to the

      general public. Due to Defendant’s failure and refusal to remove access barriers to

      its website, Plaintiff and visually-impaired persons have been and are still being

      denied equal access to Defendant’s Website, and the numerous goods and services

      and benefits offered to the public through the Website.

32.   Due to the inaccessibility of Defendant’s Website, blind and visually-impaired

      customers such as Plaintiff, who need screen-readers, cannot fully and equally use

      or enjoy the facilities, products, and services Defendant offers to the public on its

      Website. The access barriers Plaintiff encountered have caused a denial of

      Plaintiff’s full and equal access in the past, and now deter Plaintiff on a regular

      basis from visiting the Website, presently and in the future.




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33.   If the Website were equally accessible to all, Plaintiff could independently navigate

      the Website and complete a desired transaction as sighted individuals do.

34.   Through his attempts to use the Website, Plaintiff has actual knowledge of the

      access barriers that make these services inaccessible and independently unusable

      by blind and visually-impaired people.

35.   Because simple compliance with the WCAG 2.1 Guidelines would provide Plaintiff

      and other visually-impaired consumers with equal access to the Website, Plaintiff

      alleges that Defendant has engaged in acts of intentional discrimination, including

      but not limited to the following policies or practices:

              a.      Constructing and maintaining a website that is inaccessible to

              visually-impaired individuals, including Plaintiff;

              b.      Failure to construct and maintain a website that is sufficiently intuitive

              so as to be equally accessible to visually-impaired individuals, including

              Plaintiff; and,

              c.      Failing to take actions to correct these access barriers in the face of

              substantial harm and discrimination to blind and visually-impaired

              consumers, such as Plaintiff, as a member of a protected class.

36.   Defendant therefore uses standards, criteria or methods of administration that have the

      effect of discriminating or perpetuating the discrimination of others, as alleged herein.

37.   The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this

      action. In relevant part, the ADA requires:

      In the case of violations of . . . this title, injunctive relief shall include an order to
      alter facilities to make such facilities readily accessible to and usable by individuals
      with disabilities . . . Where appropriate, injunctive relief shall also include requiring
      the . . . modification of a policy . . .



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42 U.S.C. § 12188(a)(2).

38.    Upon information and belief, because GUY’S SNACKS CORPORATION’s

       Website      has   never   been   accessible   and   because   GUY’S     SNACKS

       CORPORATION does not have, and has never had, an adequate corporate policy

       that is reasonably calculated to cause its Website to become and remain accessible,

       Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks a permanent injunction

       requiring:

       a. that GUY’S SNACKS CORPORATION retain a qualified consultant
          acceptable to Plaintiff (“Mutually Agreed Upon Consultant”) who shall assist
          it in improving the accessibility of its Website so the goods and services on
          them may be equally accessed and enjoyed by individuals with vision related
          disabilities;

       b. that GUY’S SNACKS CORPORATION work with the Mutually Agreed Upon
          Consultant to ensure that all employees involved in website development and
          content development be given web accessibility training on a periodic basis,
          including onsite training to create accessible content at the design and
          development stages;

       c. that GUY’S SNACKS CORPORATION work with the Mutually Agreed Upon
          Consultant to perform an automated accessibility audit on a periodic basis to
          evaluate whether its Website may be equally accessed and enjoyed by
          individuals with vision related disabilities on an ongoing basis;

       d. that GUY’S SNACKS CORPORATION work with the Mutually Agreed Upon
          Consultant to perform end-user accessibility/usability testing on a periodic
          basis with said testing to be performed by individuals with various disabilities
          to evaluate whether its Website may be equally accessed and enjoyed by
          individuals with vision related disabilities on an ongoing basis;

       e. that GUY’S SNACKS CORPORATION work with the Mutually Agreed Upon
          Consultant to create an accessibility policy that will be posted on its Website,
          along with an e-mail address and tollfree phone number to report accessibility-
          related problems; and

       f. that Plaintiff, their counsel and its experts monitor Defendant’s Website for up
          to two years after the Mutually Agreed Upon Consultant validates it is free of




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          accessibility errors/violations to ensure it has adopted and implemented
          adequate accessibility policies.

39.    Web-based technologies have features and content that are modified on a daily, and

       in some instances, an hourly, basis, and a one time “fix” to an inaccessible website

       will not cause the website to remain accessible without a corresponding change in

       corporate policies related to those web-based technologies. To evaluate whether an

       inaccessible website has been rendered accessible, and whether corporate policies

       related to web-based technologies have been changed in a meaningful manner that

       will cause the website to remain accessible, the website must be reviewed on a

       periodic basis using both automated accessibility screening tools and end user

       testing by disabled individuals.

40.    Although Defendant may currently have centralized policies regarding maintaining

       and operating its Website, Defendant lacks a plan and policy reasonably calculated

       to make them fully and equally accessible to, and independently usable by, blind

       and other visually-impaired consumers.

41.    Defendant has, upon information and belief, invested substantial sums in

       developing and maintaining their Website and has generated significant revenue

       from the Website. These amounts are far greater than the associated cost of making

       their Website equally accessible to visually impaired customers.

42.    Without injunctive relief, Plaintiff and other visually-impaired consumers will

       continue to be unable to independently use the Website, violating their rights.

                           CLASS ACTION ALLEGATIONS
43.    Plaintiff, on behalf of herself and all others similarly situated, seeks to certify a

       nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind



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       individuals in the United States who have attempted to access Defendant’s Website

       and as a result have been denied access to the equal enjoyment of goods and services,

       during the relevant statutory period.

44.    Plaintiff, on behalf of herself and all others similarly situated, seeks certify a New

       York City subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

       individuals in the City of New York who have attempted to access Defendant’s

       Website and as a result have been denied access to the equal enjoyment of goods and

       services offered, during the relevant statutory period.

45.    Common questions of law and fact exist amongst Class, including:

              a.         Whether Defendant’s Website is a “public accommodation” under

              the ADA;

              b.         Whether Defendant’s Website is a “place or provider of public

              accommodation” under the NYCHRL;

              c.         Whether Defendant’s Website denies the full and equal enjoyment

              of   its     products,   services,    facilities,   privileges,   advantages,   or

              accommodations to people with visual disabilities, violating the ADA; and

              d.         Whether Defendant’s Website denies the full and equal enjoyment

              of   its     products,   services,    facilities,   privileges,   advantages,   or

              accommodations to people with visual disabilities, violating the NYCHRL.

46.    Plaintiff’s claims are typical of the Class. The Class, similarly to the Plaintiff, are

       severely visually impaired or otherwise blind, and claim that Defendant has

       violated the ADA or NYCHRL by failing to update or remove access barriers on

       its Website so either can be independently accessible to the Class.




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47.    Plaintiff will fairly and adequately represent and protect the interests of the Class

       Members because Plaintiff has retained and is represented by counsel competent

       and experienced in complex class action litigation, and because Plaintiff has no

       interests antagonistic to the Class Members. Class certification of the claims is

       appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused

       to act on grounds generally applicable to the Class, making appropriate both

       declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.

48.    Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because

       fact and legal questions common to Class Members predominate over questions

       affecting only individual Class Members, and because a class action is superior to

       other available methods for the fair and efficient adjudication of this litigation.

49.    Judicial economy will be served by maintaining this lawsuit as a class action in that

       it is likely to avoid the burden that would be otherwise placed upon the judicial

       system by the filing of numerous similar suits by people with visual disabilities

       throughout the United States.

                         FIRST CAUSE OF ACTION
                VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.
50.    Plaintiff, on behalf of herself and the Class Members, repeats and realleges every

       allegation of the preceding paragraphs as if fully set forth herein.

51.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

       No individual shall be discriminated against on the basis of disability in the full and
       equal enjoyment of the goods, services, facilities, privileges, advantages, or
       accommodations of any place of public accommodation by any person who owns,
       leases (or leases to), or operates a place of public accommodation.

42 U.S.C. § 12182(a).




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52.    Defendant’s Website is a public accommodations within the definition of Title III

       of the ADA, 42 U.S.C. § 12181(7). The Website is a service that is offered to the

       general public, and as such, must be equally accessible to all potential consumers.

53.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

       deny individuals with disabilities the opportunity to participate in or benefit from

       the products, services, facilities, privileges, advantages, or accommodations of an

       entity. 42 U.S.C. § 12182(b)(1)(A)(i).

54.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

       deny individuals with disabilities an opportunity to participate in or benefit from

       the products, services, facilities, privileges, advantages, or accommodation, which

       is equal to the opportunities afforded to other individuals. 42 U.S.C. §

       12182(b)(1)(A)(ii).

55.    Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

       includes, among other things:

       [A] failure to make reasonable modifications in policies, practices, or procedures,
       when such modifications are necessary to afford such goods, services, facilities,
       privileges, advantages, or accommodations to individuals with disabilities, unless
       the entity can demonstrate that making such modifications would fundamentally
       alter the nature of such goods, services, facilities, privileges, advantages or
       accommodations; and a failure to take such steps as may be necessary to ensure that
       no individual with a disability is excluded, denied services, segregated or otherwise
       treated differently than other individuals because of the absence of auxiliary aids
       and services, unless the entity can demonstrate that taking such steps would
       fundamentally alter the nature of the good, service, facility, privilege, advantage,
       or accommodation being offered or would result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

56.    The acts alleged herein constitute violations of Title III of the ADA, and the

       regulations promulgated thereunder. Plaintiff, who is a member of a protected class




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       of persons under the ADA, has a physical disability that substantially limits the

       major life activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A).

       Furthermore, Plaintiff has been denied full and equal access to the Website, has not

       been provided services that are provided to other patrons who are not disabled, and

       has been provided services that are inferior to the services provided to non-disabled

       persons. Defendant has failed to take any prompt and equitable steps to remedy its

       discriminatory conduct. These violations are ongoing.

57.    Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

       incorporated therein, Plaintiff, requests relief as set forth below.

                             SECOND CAUSE OF ACTION
                            VIOLATIONS OF THE NYCHRL
58.    Plaintiff, on behalf of herself and the New York City Sub-Class Members, repeats

       and realleges every allegation of the preceding paragraphs as if fully set forth herein.

59.    N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an unlawful

       discriminatory practice for any person, being the owner, lessee, proprietor,

       manager, superintendent, agent or employee of any place or provider of public

       accommodation, because of . . . disability . . . directly or indirectly, to refuse,

       withhold from or deny to such person, any of the accommodations, advantages,

       facilities or privileges thereof.”

60.    Defendant’s Website is a sales establishment and public accommodations within

       the definition of N.Y.C. Admin. Code § 8-102(9).

61.    Defendant is subject to NYCHRL because it owns and operates its Website, making

       it a person within the meaning of N.Y.C. Admin. Code § 8-102(1).




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62.    Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to

       update or remove access barriers to Website, causing its Website and the services

       integrated with such Website to be completely inaccessible to the blind. This

       inaccessibility denies blind patrons full and equal access to the facilities, products,

       and services that Defendant makes available to the non-disabled public.

63.    Defendant is required to “make reasonable accommodation to the needs of persons

       with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.]

       from discriminating on the basis of disability shall make reasonable

       accommodation to enable a person with a disability to . . . enjoy the right or rights

       in question provided that the disability is known or should have been known by the

       covered entity.” N.Y.C. Admin. Code § 8-107(15)(a).

64.    Defendant’s actions constitute willful intentional discrimination against the Sub-

       Class on the basis of a disability in violation of the N.Y.C. Administrative Code §

       8-107(4)(a) and § 8-107(15)(a) in that Defendant has:

              a.      constructed and maintained a website that is inaccessible to blind

              class members with knowledge of the discrimination; and/or

              b.      constructed and maintained a website that is sufficiently intuitive

              and/or obvious that is inaccessible to blind class members; and/or

              c.      failed to take actions to correct these access barriers in the face of

              substantial harm and discrimination to blind class members.

65.    Defendant has failed to take any prompt and equitable steps to remedy their

       discriminatory conduct. These violations are ongoing.




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66.    As such, Defendant discriminates, and will continue in the future to discriminate

       against Plaintiff and members of the proposed class and subclass on the basis of

       disability in the full and equal enjoyment of the products, services, facilities,

       privileges, advantages, accommodations and/or opportunities of its Website under

       § 8-107(4)(a) and/or its implementing regulations. Unless the Court enjoins

       Defendant from continuing to engage in these unlawful practices, Plaintiff and

       members of the class will continue to suffer irreparable harm.

67.    Defendant’s actions were and are in violation of the NYCHRL and therefore

       Plaintiff invokes his right to injunctive relief to remedy the discrimination.

68.    Plaintiff is also entitled to compensatory damages, as well as civil penalties and

       fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense

       as well as punitive damages pursuant to § 8-502.

69.    Plaintiff is also entitled to reasonable attorneys’ fees and costs.

70.    Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

       procedures, and rights set forth and incorporated therein Plaintiff prays for

       judgment as set forth below.

                                 THIRD CAUSE OF ACTION
                                  DECLARATORY RELIEF
71.    Plaintiff, on behalf of herself and the Class and New York City Sub-Classes

       Members, repeats and realleges every allegation of the preceding paragraphs as if

       fully set forth herein.

72.    An actual controversy has arisen and now exists between the parties in that Plaintiff

       contends, and is informed and believes that Defendant denies, that its Website

       contains access barriers denying blind customers the full and equal access to the



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       products, services and facilities of its Website, which Defendant owns, operations

       and controls, fails to comply with applicable laws including, but not limited to, Title

       III of the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., and N.Y.C.

       Admin. Code § 8-107, et seq. prohibiting discrimination against the blind.

73.    A judicial declaration is necessary and appropriate at this time in order that each of

       the parties may know their respective rights and duties and act accordingly.

                                 PRAYER FOR RELIEF
       WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

              a.      A preliminary and permanent injunction to prohibit Defendant from

              violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.,

              N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

              b.      A preliminary and permanent injunction requiring Defendant to take

              all the steps necessary to make its Website into full compliance with the

              requirements set forth in the ADA, and its implementing regulations, so that

              the Website is readily accessible to and usable by blind individuals;

              c.      A declaration that Defendant owns, maintains and/or operates its

              Website in a manner that discriminates against the blind and which fails to

              provide access for persons with disabilities as required by Americans with

              Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y.C. Administrative Code

              § 8-107, et seq., and the laws of New York

              d.      An order certifying the Class and Sub-Classes under Fed. R. Civ. P.

              23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative,

              and his attorneys as Class Counsel;

              e.      Compensatory damages in an amount to be determined by proof,


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                including all applicable statutory and punitive damages and fines, to

                Plaintiff and the proposed class and subclasses for violations of their civil

                rights under New York City Human Rights Law and City Law;

                f.      Pre- and post-judgment interest;

                g.      An award of costs and expenses of this action together with

                reasonable attorneys’ and expert fees; and

                h.      Such other and further relief as this Court deems just and proper.

                             DEMAND FOR TRIAL BY JURY
         Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions

of fact the Complaint raises.

Dated:      Queens, New York
            December 3, 2020
                                               MARS KHAIMOV LAW, PLLC

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